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             IN THE UNITED STATES DISTRICT COURT FOR THE
 7                  EASTERN DISTRICT OF CALIFORNIA

 8    UNITED STATES OF AMERICA,
                                               NO. CR 2:07-00570 FCD
 9              Plaintiff,
                                                ORDER GRANTING STIPULATED
10                                             MOTION FOR MODIFICATION OF
          v.
                                                  CONDITIONS OF RELEASE
11
      TARSEM SINGH, et al.
12
                Defendant.
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           After consideration of the files herein, defendant’s
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     stipulated motion for modification of conditions of release is
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     hereby GRANTED. The defendant’s bond shall be modified to
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     include a $100,000.00 bond, with $35,000.00 of the bond to be
18
     secured by:    1990 Volvo/WHGM Commercial Truck (owned by Ranjit
19
     Kaur; 1992 Ford Service Truck(owned by Ranjit Kaur); 1986 Dodge
20
     Caravan (owned by Ranjit Kaur); and the 1992 Fleetwood
21
     Berkshire Mobile Home located at 31813 21st Avenue South,
22
     Federal Way, Washington 98023. The remaining $65,000.00 of the
23

     PROPOSED ORDER GRANTING STIPULATION FOR          The Crowley Law Firm, PLLC
     MODIFICATION OF CONDITIONS OF RELEASE                            Smith Tower
                                                           506 Second Avenue, Suite 1015
                                                             Seattle, Washington 98104
                                                      Tel (206) 625-7500 ♦ Fax (206) 625-1223
              Case 2:07-cr-00570-KJM Document 237 Filed 12/01/10 Page 2 of 2


 1   bond shall be unsecured and co-signed by the defendant and his

 2   wife, Ranjit Kaur.

 3           In addition, Bagawan Singh and Manisha Goodwin shall be

 4   removed as sureties from the original secured bond filed with

 5   the Court on February 14, 2008, and the titles to their

 6   vehicles (1995 Buick Regal, VIN# 2G4WB52LOS1437525 and the 2002

 7   Toyota Sequoia CIN# JT3HN86R829069658) shall be released to

 8   them.

 9           All previously ordered conditions of release shall remain

10   in full force and effect.

11           Dated:   December 1, 2010

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     PROPOSED ORDER GRANTING STIPULATION FOR            The Crowley Law Firm, PLLC
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